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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DIANA BUTLER, individually and behalf :              Civil Action
of a class of similarly situated persons, :
                                          :
                        Plaintiff         :
                v.                        :          No.
                                          :
MARKET VIEW, LLC, d/b/a DebtTrader, :
NORTHWOOD ASSET MANAGEMENT :
GROUP, LLC and various John Does,         :          CLASS ACTION
                                          :
                        Defendants        :

                                CLASS ACTION COMPLAINT

                                         I. Introduction

       1.      Plaintiff on her own behalf and on behalf of a proposed class of victimized

consumers brings this action against (a) a debt buyer, Northwood Asset Management, Inc, (b) a

debt broker, Market View LLC, which operated in the marketplace under the name DebtTrader,

and (c) associated, as yet unknown, persons. These entities are being sued for their knowing

participation in a conspiracy with a notorious “payday lending” enterprise known as American

Web Loans (“AWL”), which victimized Plaintiff and the class. Plaintiff asserts damage claims

under the Racketeering Influenced Corrupt Organizations Act (“RICO”), 18 U.S.C. §§ 1961–1968

and the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. §§ 1692a-1692k, and seeks

declaratory relief under state law.

       2.      Plaintiff and the consumers in the putative classes were victimized by “payday”

loans, which are short-term credit products sold with crushing interest rates and targeted at low-

income individuals with high credit risks. The credit products offered by AWL were sold over the

internet and were described as “fast cash” that provided funds immediately. Although this form of
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consumer credit is illegal under the usury law of Pennsylvania and many other states, well-

lawyered, highly organized schemes to evade such legal restrictions have proliferated.

       3.      One of the most common forms of these illegal schemes has been the so-called

“tribal lending” schemes. In a tribal-lending scheme, otherwise known as “rent-a-tribe,” a

payday lender recruits a Native American tribe to establish a tribal business entity to function as

the nominal, originating lender in order to create a tribal veneer for the business. The revenues of

the business flow principally to the nontribal actors that market, underwrite, and collect the

loans. The payday lender uses the veneer of tribal participation to abuse the legal doctrine of

tribal sovereign immunity in an effort to insulate the usurious schemes from state regulatory

authority. These schemes principally operate over the internet.

       4.      American Web Loan (or “AWL”) is one of the more notorious and long-lasting of

these lending websites. It is purportedly operated by a Native American tribe, but for all practical

purposes it has been in fact controlled by and for the profit of non-defendant Mark Curry and

entities controlled by him, including the non-defendant entitles MacFarlane Group and Sol

Partners. Plaintiff and the members of the putative class are AWL borrowers.

       5.      Like other lending enterprises, tribal lending schemes rely on a variety of other

services, some provided in-house and some outsourced, as essential elements of their business

models. These services might include call centers, debt servicing, lead generation, and credit

reporting. Such schemes also rely on entities, like the Defendants here, to purchase past-due

debt, which often makes up a significant portion of a tribal lending portfolio due to the onerous,

usurious terms of the loans.

       6.      The Defendants here are among entities that conspired with the AWL tribal

lending scheme that victimized Plaintiff and the proposed class by providing the essential service



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of purchasing nonperforming loans from the scheme. Defendant Market View, LLC, which

operates under its trademark “DebtTrader,” is an online platform that connects tribal lending

businesses to debt-buyers willing and able to purchase, and thereby monetize, the lenders’

nonperforming loans. Defendant Northwood Asset Management Group, LLC (“Northwood”) is

a debt-buyer that has purchased millions of dollars in illegal, “tribal” payday loans through

DebtTrader.

         7.      Plaintiff Butler was ensnared into a 600% payday loan made by AWL. Her loan

was sold to Northwood in a transaction brokered by DebtTrader. AWL is one of several tribal

lenders that launder its illegal debt through DebtTrader, and Northwood is one of many debt

buyers that is engaged in collecting AWL loans purchased through DebtTrader.

         8.      Plaintiff Butler is filing this class action on behalf of all AWL borrowers whose

loans were sold to debt buyers in transactions brokered or arranged by DebtTrader. She is

seeking treble damages under RICO, as well as attorney’s fees and costs, for all payments made

on these loans. For the subclass of these consumers whose loans were sold to Northwood, she is

also seeking actual and statutory damages under the Fair Debt Collection Practices Act

(“FDCPA”), 15 U.S.C. §§ 1692a-1692k. Plaintiff Butler and the proposed class are also seeking

declaratory relief under the relevant state law.

                                    II. Jurisdiction and Venue

         9.      This Court has jurisdiction over Plaintiff’s RICO claims pursuant to 18 U.S.C.

§ 1964(c). The Court has supplemental jurisdiction over state law claims pursuant to 28 U.S.C.

§1367.

         10.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because Plaintiff

resides in this district and a substantial part of the events giving rise to Plaintiff’s claims occurred



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in this District.

                                                III. Parties

         11.        Plaintiff Diana Butler is an adult individual who resides in Lancaster County,

Pennsylvania.

         12.        Defendant Market View, LLC, previously known as EverChain LLC, d/b/a

DebtTrader (and hereafter referred to as “DebtTrader”), is a limited liability corporation that is

incorporated in Nevada and has its principal place of business in Henderson, Nevada. It operates

an online debt marketplace that connects lenders to debt buyers interested in purchasing

delinquent, non-performing loans, and manages all aspects of the debt purchase, including the

bidding process, due diligence, funding and account transfer processes.

         13.        Defendant Northwood Asset Management Group, LLC (hereafter “Northwood”)

is a limited liability corporation that is incorporated in New York and has its principal place of

business in Erie County, New York. It is a debt buyer that is a member of DebtTrader’s network

of debt buyers and that regularly purchases delinquent consumer debt in transactions arranged by

DebtTrader. Northwood collects the debts it purchases either directly or through debt collectors it

hires.

         14.        Plaintiff also names as Defendants various John Doe entities, the identities of

which she does not yet know, including, but not limited to the members or managers of Market

View, LLC and Northwood Asset Management Group, LLC, who are directing these LLCs to

engage in the illegal business of collecting usurious debt or to facilitate others to do so.

         15.        There are other entities or persons who are not named as defendants, but who

played a significant role in the facts alleged herein. This includes AWL, Inc., a corporation

formed under the laws of an Oklahoma-based Native American tribe and maintaining a place of



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business in Red Rock, Oklahoma; Mark Curry, a payday lending businessman; and many

companies that Curry has owned and controlled and through which he has conducted this

business. Among these Curry-owned companies are MacFarlane Group and Sol Partners.

                                             IV. Facts

       16.     On or about December 28, 2018, Plaintiff Butler applied on her home computer

for a $1,000 cash loan offered by a company named “AWL.”

       17.     The AWL website purported to be operated by a company owned by an

Oklahoma-based Native American tribe, the Otoe-Missouria. In fact, however, this website was

established, and has been operated for years, by a payday lending kingpin named Mark Curry

who, using various companies that he owned and/or controlled, was engaged in a scheme

commonly referred to as “rent-a-tribe” lending scheme.

       18.     Under this scheme, while AWL would serve as the nominal lender, Curry-

owned and/or -affiliated entities would conduct all of the substantive operations for the

enterprise including, among other things, marketing and lead generation, application

processing, underwriting, technical support, electronic funds transfers, loan servicing, and

collections. Moreover, funding for the loans would be provided by Curry-owned and

affiliated entities, as well as other investors facilitated by Curry. In exchange for enacting

tribal lending laws and creating the business entities necessary to enable and carry out this

scheme, Defendant Curry’s payday lending operation would provide the cooperating tribe

with a small percentage of the revenues generated by AWL loans.

       19.     Plaintiff Butler was approved for the loan almost instantaneously, based on the

automated underwriting mechanisms utilized by Curry and his companies, and the $1,000 was

deposited in her bank account the next day. Also arriving after the loan had already been


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approved were disclosures not contained in the web presentation available to loan applicants,

which informed her that her loan would accrue interest at the rate of 602.32%, and that it would

be repaid through twenty (20), bi-weekly, automatic debits from her bank account. This meant

that that over the course of ten months she would end up repaying $4,860.32 for the $1,000 loan.

       20.     The loan offered to Plaintiff Butler was illegal in Pennsylvania and many other

states. For example, in Pennsylvania, the interest allowed to be charged on an unsecured,

consumer loan less than $25,000 is six percent (6%), 41 Purdons Pa. St. § 201, and any amount

charged in excess of that cap is void. 41 Purdons Pa. St. §§ 501-502.

       21.     There are other jurisdictions, besides Pennsylvania, that prohibit all forms of

payday lending, including Arizona, Ariz. Rev. Stat. § 6-613(B); Arkansas, Ark. Code Ann. §§ 4-

57-104, 105; Colorado, Colo. Rev. Stat. Ann. § 5-2-201; Connecticut, Conn. Gen. Stat. § 36a-

558 (c)(1); Georgia, Ga. Code Ann. §§ 7-4-2, 16-17-2, Maryland, Md. Code, Com. Law § 12-

314; Massachusetts, Mass. Gen. Laws Ann. ch. 271, § 49; Montana, Mont. Code Ann. § 31-1-

107; New Hampshire, N.H. Rev. Stat. Ann. § 399-A:17; New Jersey, N.J. Stat. Ann. § 31:1-1;

N.J. Stat. Ann. §§ 17:11C-32, 33; New York, N.Y. Gen. Oblig. Law § 5-511; N.Y. Banking Law

§ 355; North Carolina, N.C. Gen. Stat. Ann. §§ 24-1, 53-166; South Dakota, S.D. Cod. Laws §

54-4-44; Vermont, Vt. Stat. Ann. tit. 9, §§ 41a, 50; West Virginia, W. Va. Code Ann. §§ 47-6-

5a, 6; and the District of Columbia, D.C. Code Ann. § 28-3303. See Consumer Federation of

America, “Legal Status of Payday Lending by States,” https://paydayloaninfo.org/state-

information.

       22.     Moreover, at least twelve additional jurisdictions that allow some forms of

regulated payday lending, treat any loans that fail to abide by the strict parameters of such

licensing rules as being void as matter of law, including Alabama, Ala. Code § 5-18-4; Florida,



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Fla. Stat. § 516.02; Idaho, Idaho Code § 28-46-402 ; Illinois, 815 Ill. Comp. Stat. 122/4-10;

Indiana, Ind. Code Ann. § 24-4.5-5-202; Kentucky, Ky. Rev. Stat. Ann. § 286.4-991; Minnesota,

Minn. Stat. §§ 47.60, 47.601; Minn. Stat. Ann. § 56.19; New Mexico, N.M. Stat. Ann. § 58-15-3;

Ohio, Ohio Rev. Code Ann. § 1321.02; Oregon, Or. Rev. Stat. § 725.045; Rhode Island, 6 R.I.

Gen. Laws Ann. § 6-26-4; and Virginia, Va. Code Ann. § 6.2-1541.

       23.     For years the use by payday lenders of tribal veneers as an artifice to evade state

law has been widely publicized. See, e.g., H.R., Committee on Financial Services, Dem. Staff

Report, “Skirting the Law: Five Tactics Payday Lenders Use to Evade State Consumer

Protection Law,” June 16, 2016, at 15 (“Renting Sovereign Immunity”); Carter Dougherty,

“Payday Lenders and Indians Evading Laws Draw Scrutiny,” Bloomberg, June 5, 2012; Jeff

Guo, “Many States Have Cracked Down on Payday Loans. Here’s How Lenders Still Get Away

with It,” Washington Post, February 9, 2015.

       24.     The AWL lending scheme is particularly notorious in the world of online payday

lending and among state and federal regulators. Among other things, it is generally known that:

   •   Several states, including Connecticut, New York, Washington, and Arkansas, have
       taken various regulatory actions against AWL and Curry.

   •    In October 2014, the Second Circuit of Appeals, affirmed a district court’s denial of a
       request by various Native American tribes to enjoin a state lending regulator’s cease
       and desist order directed at various tribal lending enterprises, which specifically
       included AWL. See Otoe-Missouria Tribe of Indians v. New York State Dep't of Fin.
       Servs., 769 F.3d 105, 114 (2d Cir. 2014) (noting that “a tribe has no legitimate
       interest in selling an opportunity to evade state law’).

   •   There were highly publicized governmental enforcement actions against a similar
       “rent-a-tribe” enterprise that the same tribe, the Otoe-Missouria, was engaged in with
       a different, nontribal, payday lender. See Commonwealth of Pennsylvania v. Think
       Fin., Inc., No. 14-CV-7139, 2016 WL 183289 (E.D. Pa. Jan. 14, 2016); Consumer
       Fin. Prot. Bureau v. Think Fin., LLC, No. CV-17-127-GF-BMM, 2018 WL 3707911,
       (D. Mont. Aug. 3, 2018).




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    •   There has been a private RICO class action pending against AWL and Curry pending
        since 2017. See Solomon v. Am. Web Loan, No. 4:17CV145, 2019 WL 1320790 (E.D.
        Va. Mar. 22, 2019).

        25.       The Federal Government had obtained highly publicized criminal convictions

under RICO against two payday loan kingpins who, like Curry, used “rent-a-tribe” arrangements

to attempt to evade state usury law. On October 13, 2017, a jury in the U.S. District Court for the

Southern District of New York convicted Scott Tucker and his attorney, Timothy Muir, on all

fourteen felony counts brought against them. United States v. Tucker, et al., No. 1:16-cr-00091-

PKC (S.D.N.Y) (the “Tucker Criminal Matter”). 1 On November 27, 2017, a jury in this District

convicted Charles M. Hallinan and his attorney, Wheeler K. Neff, on seventeen felony counts.

United States v. Hallinan, et al., No. 2:16-cr-00130-ER (E.D.Pa.) (the “Hallinan Criminal

Matter”). 2

        26.       Ms. Butler made seven payments of $243.10, meaning that she repaid the $1,000

principal, plus close to $700 in interest. Virtually all of the interest charged was illegal under

Pennsylvania law.

        27.       After making those payments, in or around April 2019, and having decided that

she had been taken advantage of and already paid well more than she had borrowed, she stopped

the automatic payments at her bank and refused to pay anything more to AWL.

        28.       A critical aspect of the AWL loan enterprise that Curry and his companies

devised and operated is the sale of nonperforming loans to debt buyers who pay cash for the


              1
              See Press Release, United States Department of Justice, Scott Tucker and Timothy
    Muir Convicted at Trial for $3.5 Billion Unlawful Internet Payday Lending Enterprise
    (Oct. 13, 2017) (available at https://www.justice.gov/usao-sdny/pr/scott-tucker-and-
    timothy-muir-convicted-trial35-billion-unlawful-internet-payday).
            2
              See Press Release, United States Department of Justice, Two Men Found Guilty
    of Racketeering Conspiracy in Payday Lending Case (Nov. 27, 2017) (available at
    https://www.justice.gov/usao-edpa/pr/two-men-found-guilty-racketeering-conspiracy-
    paydaylending-case).
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rights to attempt to collect on these loans. For years, and on a routine basis, Curry used the

services of DebtTrader to broker these debt sales.

       29.     In accordance with that practice, after Plaintiff stopped paying her loan, AWL

included that loan in a bulk sale of accounts to Northwood, through the DebtTrader platform,

notwithstanding the fact that the loan was illegal; that Ms. Butler had repaid well in excess of the

amount she borrowed; and that the purported remaining indebtedness owed to AWL was void as

a matter of Pennsylvania law.

       30.     Defendant Northwood purchased the Butler account on or about July 23, 2019,

through the DebtTrader marketplace along with other AWL accounts.

       31.     Both DebtTrader and Northwood knew that the Butler loan and other AWL loans

were illegal. DebtTrader in fact promotes itself to debt buyers as, among other things, being able

to provide copies of loan contracts and payment histories to buyers so they know exactly what

kind of debt they are buying.

       32.     On information and belief, Northwood acquired thousands of AWL accounts,

representing millions of dollars of supposed consumer indebtedness that was, in fact, illegal.

       33.     With full knowledge that the AWL loans they were trading in or purchasing were

illegal under the law of Pennsylvania and the other 28 jurisdictions represented by the class,

Defendants nonetheless decided to facilitate and profit from the AWL scheme.

       34.     On information and belief, Northwood does not use the courts to collect AWL and

other payday-like loans it acquires, in recognition of their underlying illegality, instead relying

on their ability to induce payments through aggressive telephone collections.

       35.     Soon after purchasing the AWL portfolio containing the Butler loan, Northwood

began contacting Ms. Butler, demanding payment. She received numerous debt-collection phone



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calls from employees of Northwood or from collection agents working on Northwood’s behalf.

The most recent of these calls was made on or about March 4, 2020.

                                   V. Class Action Allegations

       36.     Plaintiff brings this action on behalf of herself and all others similarly situated,

pursuant to Federal Rules of Civil Procedure (“Rule”) 23(a) and 23(b)(2), and (b)(3), as a

representative of the following Class:

           All persons who took out AWL loans, (a) who, according to Defendants’
       records, reside in any of the following 29 jurisdictions: Alabama, Arizona,
       Arkansas, Colorado, Connecticut, Florida, Georgia, Idaho, Illinois, Indiana,
       Kentucky, Maryland, Massachusetts, Minnesota, Montana, New Hampshire,
       New Jersey, New Mexico, New York, North Carolina, Ohio, Oregon,
       Pennsylvania, Rhode Island, South Dakota, Vermont, Virginia, West Virginia,
       or the District of Columbia; and (b) which loans were sold and assigned to a
       debt buyer through the DebtTrader platform (“the Class”); and the Sub-Class
       of these borrowers whose loans were purchased by Northwood Asset
       Management Group (“the Northwood Sub-Class”). The Class period begins
       four years prior to the date this Complaint was filed and continues through the
       present.

       Plaintiff reserves the right to redefine the Class prior to certification.

       37.     As set forth below, this action satisfies the numerosity, typicality, adequacy,

predominance, and superiority requirements of Rule 23. The members of the Class are readily

ascertainable from records maintained by Defendants.

       38.     Numerosity. Members of the Class are so numerous and geographically dispersed

that joinder of all members is impracticable. While the exact number of Class members is

unknown to Plaintiffs at this time, based on information and belief, Plaintiff believes that there

are tens of thousands of individuals who are members of the Class. The exact number of Class

members and their identities are known by Defendants or are readily ascertainable from

Defendants’ records.




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        39.      Typicality. Plaintiff’s claims are typical of the claims of the members of the

Class. Plaintiff’s claims are based on the same facts and legal theories as each of the

members of the Class. Plaintiff and all Class members were charged interest rates on online

payday loans from AWL, which rates exceeded the lawful interest rate caps in their states of

residence. Plaintiff and all members of the Class are the subject of debt collection activity

directed against them regarding these illegal debts.

        40.      Adequacy. Plaintiff will fairly and adequately protect the interests of the

Class. The interests of Plaintiff are coincident with, and not antagonistic to, those of the

other members of the Class. Plaintiff has retained counsel that is competent and experienced

in the prosecution of complex class action litigation and have experience with class action

litigation involving tribal lending schemes. Plaintiff’s counsel will undertake to vigorously

protect the interests of the Class.

        41.      Commonality. There are questions of law and fact common to the members

of the Class and these common questions will predominate over any questions that may

affect only individual Class members. The claims of all Class members originate from the

same misconduct and violations of law perpetrated by Defendants. The common questions

include, but are not limited to:

              a. Whether the AWL Lending Enterprise (defined below) is an “enterprise”
                 under 18 U.S.C. § 1961(4);

              b. Whether the principals participating in the direction of the AWL Lending
                 Enterprises did so through ongoing collection of illegal debt, in violation of 18
                 U.S.C. § 1962(c);

              c. Whether Defendant Market View LLC and its John Doe members and
                 executives agreed to assist the AWL Lending Enterprise and other “tribal”
                 payday lenders, in monetizing their nonperforming assets and the extent of
                 their knowledge of the illegal nature of these loan assets;



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             d. Whether Defendant Northwood Asset Management Group, LLC and its John
                Doe members and executives agreed to purchase nonperforming consumer
                debt created by the AWL Lending Enterprise, with knowledge of the illegal
                conduct and activity of that Enterprise;

             e. The roles played by the John Doe members and executives of the two
                Defendant LLCs in the direction of the activity alleged in this Complaint;

             f. Whether the AWL loans held by Defendant Northwood are legally
                enforceable;

             g. Whether Defendant Northwood is a “debt collector” within the meaning of the
                FDCPA;

             h. Whether Defendant Northwood is attempting to collect AWL loans, what
                those activities entail, and the amount it has collected from AWL borrowers.

       42.       Predominance. Under Rule 23(b)(3) the questions of law or fact common to

class members concerning the racketeering underlying the AWL Lending scheme, the

illegality of the loans produced by the scheme and the conduct of the Defendants to further

and assist the scheme with knowledge of its illegal purpose will predominate over any

questions affecting only individual members.

       43.      Superiority. Under Rule 23(b)(3), class action treatment is a superior method

for the fair and efficient adjudication of the controversy. Such treatment will permit a large

number of similarly situated persons to prosecute their common claims in a single forum

simultaneously, efficiently, and without the unnecessary duplication of evidence, effort, or

expense that numerous individual actions would entail. The benefits of proceeding through

the class mechanism, including providing injured persons with a method for obtaining redress

on claims that could not practicably be pursued individually, substantially outweighs

potential difficulties in management of this class action.

       44.      This action is also maintainable as a class action under Rule 23(b)(2) because

Defendants have acted on grounds generally applicable to the Class, thereby making

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appropriate final injunctive, declaratory, or other appropriate equitable relief with respect to

the Class as a whole.

       45.     Plaintiff knows of no special difficulty to be encountered in the maintenance

of this action that would preclude its maintenance as a class action.


                                        VI. Claims Alleged

                         COUNT ONE: RICO, 18 U.S.C. § 1962(d)
                                    Against All Defendants
        For Knowingly Facilitating the Usurious Scheme of the AWL Lending Enterprise

       46.     The above allegations are incorporated and reasserted by this reference.

       47.     The association-in-fact between AWL, the Otoe-Missouria tribe, Mark Curry and

the Curry-owned entities involved in the marketing, underwriting, funding and collecting of

AWL loans—referred to hereafter as the “AWL Lending Enterprise”—is an “enterprise” within

the meaning of 18 U.S.C. § 1961(4).

       48.     The AWL Lending Enterprise has been engaged in, and its activities affect,

interstate commerce. The AWL Payday Lending Organization has leadership based in Mission,

Kansas and San Juan, Puerto Rico, and operates throughout the United States, include making

loans in this District, and using the interstate wires through the internet and mails to do so.

       49.     The AWL Lending Enterprise constitutes an ongoing organization whose

members have functioned as a continuing unit for a common purpose of achieving the objectives

of the enterprise. During the relevant time period, it has been led, controlled, and/or managed by

Curry and his various business entities, including MacFarlane Group and Sol Partners.

       50.     The AWL Lending Enterprise has existed continually, using various forms and

legal structures, since approximately February 2010, when American Web Loan, Inc. was




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created, and it continues to the present time to the detriment of individual consumers throughout

the United States.

       51.     RICO defines as “unlawful debt” any debt incurred in connection with “the

business of lending money or a thing of value at a usurious rate under State or Federal law,

where the usurious rate is at least twice the enforceable rate.” 18 U.S.C. § 1961(6). Mark Curry

and the various Curry-owned business entities that have directed and managed the AWL Lending

Enterprise have violated RICO through the “collection of unlawful debt” as that term is defined

in RICO, 18 U.S.C. § 1962(c).

       52.     Defendant DebtTrader and its John Doe members, with knowledge that the AWL

Lending Enterprise made and collected unlawful debts, purposefully and knowingly agreed to

assist and facilitate this unlawful activity by arranging for the sale of usurious loan obligations to

debt buyers and thereby monetizing nonperforming assets of the Enterprise for the benefit of the

Enterprise. Pursuant to such agreements, Defendants arranged and brokered the sale of thousands

of these illegal loans, a service for which they were amply compensated. These acts of Defendant

DebtTrader and its John Doe members were purposefully and knowingly directed at facilitating a

criminal pattern of racketeering activity.

       53.     Defendant Northwood and its John Doe members, with knowledge that the AWL

Lending Enterprise made and collected unlawful debts, purposely and knowingly agreed to assist

and facilitate this unlawful activity by acquiring usurious debt created by the Enterprise.

Pursuant to such agreements, Defendants have paid large sums of money to the Enterprise in

exchange for these assets and, thereafter, have proceeded to collect or attempt to collect these

illegal debts from Plaintiff and the class whose loans were also acquired by Defendant




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Northwood. These acts of Defendant Northwood and its John Doe members were purposefully

and knowingly directed at facilitating a criminal pattern of racketeering activity.

       54.     The conduct of Defendants violated 18 U.S.C. § 1962(d). That violation directly

harmed and continues to harm the Plaintiff and the members of the proposed class.

       55.     As a result of this violation of RICO, Defendants are jointly and severally liable

to Plaintiff and the putative members of the Class for all the damages caused by the AWL

Lending Enterprise, including hundreds of millions of dollars in illegal interest paid, treble

damages, costs, and attorneys’ fees pursuant to 18 U.S.C. § 1964(c).

                         COUNT TWO: FDCPA, 15 U.S.C § 1692e
          Against Defendant Northwood and the John Doe Members and Executives of
                                  Defendant Northwood

       56.     The above allegations are incorporated and reasserted by this reference.

       57.     Defendant Northwood and the John Doe members and executives of Northwood

are “debt collectors” within the meaning of 15 U.S.C. § 1692a(6) in that they use the interstate

wire and telephone systems, and other instrumentalities of interstate commerce, and the mails in

their business, the principal purpose of which is the collection of debts.

       58.     Plaintiff and the Northwood Sub-Class she seeks to represent are “consumers”

within the meaning of 15 U.S.C. § 1692a(3) in that they are natural persons who are obligors

under AWL loan agreements.

       59.      Defendants repeatedly telephoned Plaintiff Butler, falsely representing that she

had a legal obligation to repay a balance still owing on her AWL loan, in violation of 15 U.S.C.

§ 1692e(2) and § 1692f(1).




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       60.      Defendants have consistently and repeatedly committed these same violations

with regard to the other Northwood Sub-Class Members whose AWL loans were purchased by

Northwood.

       61.      Plaintiff is entitled to recover for the Northwood Sub-Class any actual payments

made to Northwood, as well as statutory damages of $500,000 and attorney fees and costs,

pursuant to 15 U.S.C. § 1692k.

                                    COUNT THREE: State Law
             For Declaratory Relief Declaring the AWL Loans Held by Northwood to be
                                     Void and Unenforceable

       62.      The above allegations are incorporated and reasserted by this reference.

       63.      Prior to the sale of the Butler loan to Defendant Northwood, Plaintiff had already

paid back the amount borrowed plus interest AWL could lawfully charge.

       64.      Under the law of Pennsylvania, see 41 Purd. Pa. St. § 501, and the similar

provisions of the other twenty-eight jurisdictions included within the Class and listed above, the

purported indebtedness acquired and held by Northwood is legally unenforceable and void.

       65.      To the extent the Northwood Sub-class Members have repaid to AWL and/or

Northwood amounts in excess of the amount borrowed and of legally permissible interest

charges, their purported indebtedness owed to Northwood is legally unenforceable and void, and

Plaintiff and Northwood Sub-class seek a declaration to this effect.

                                      VII. Prayer for Relief

       WHEREFORE, Plaintiff seeks the following relief:

   A. Certification of the alleged class, pursuant to Fed. R. Civ. P. 23(b)(2) and (3);

   B. Actual damages for all members of the class, trebled under 18 U.S.C. § 1964(c);




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C. Actual and statutory damages for all members of the Northwood Sub-Class, pursuant to

   15 U.S.C. § 1692k;

D. Declaratory relief in favor of the Northwood Sub-Class, establishing that any and all

   indebtedness purportedly owed on account of AWL obligations is legally unenforceable

   and void;

E. An award of reasonable attorney fees and costs.

F. Such other relief as the Court deems fair and reasonable.

                                   JURY DEMAND

                        Plaintiff hereby demands a trial by jury.




                                         Respectfully submitted,



                                         /s/ Irv Ackelsberg
                                         Irv Ackelsberg, PA Bar No. 23813
                                         John J. Grogan, PA Bar No. 72443
                                         David A. Nagdeman, PA Bar No. 327652
                                         LANGER, GROGAN & DIVER, PC
                                         1717 Arch Street, Suite 4020
                                         Philadelphia, PA 19103
                                         Tele: (215) 320-5660
                                         Fax: (215) 320-5703
                                         Email: iackelsberg@langergrogan.com

                                         Dated: January 29, 2021




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